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B 210A (Form 210A) (12/09)

UNITED STATES BANKRUPTCY COURT

Northern District of Indiana

In re Jeffrey Lynn Reid
Rosemarie Reid

 

Case No. 15-20900

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

SRP 2015-2 LLC

 

Name of Transferee

Name and Address where notices to transferee

should be sent:
C/O SN Servicing Corp.
323 5th Street
Eureka, CA $5501

Phone: 800-603-0836
Last Four Digits of Acct #: 2440

 

Name and Address where transferee payments
should be sent (if different from above):

323 Sth Street

Eureka, CA 95501

Phone:

First Merchants Bank

 

 

Last Four Digits of Acct #:

Name of Transferor

Court Claim # (if known): 2-1
Amount of Claim: $44,437.15
Date Claim Filed: 04/06/2015

Phone: (765) 378-7077
Last Four Digits of Acct. #: 9212

 

 

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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Form 210B (10/06)

United States Bankruptcy Court

Northern District Of Indiana

In re Jeffrey Lynn Reid 3 Case No. 15-20900
Rosemarie Reid

 

NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

Claim No.2-!__ (if known) was filed or deemed filed under 11 U.S.C. § 1111 (a) in this case by the
alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim

 

Other than for Security in the clerk’s office of this court on (date).

First Merchants Bank SRP 2015-2 LLC

Name of Alleged Transferor Name of Transferee

Address of Alleged Transferor: Address of Transferee:

P.O Box 549 C/O SN Servicing Corporation

Daleville, IN 47334

323 Sth Street
Eureka, CA 95501

 

    

 

The alleged transferor of the clainré is hereby notified that Teaco must be be filed with the court
within twenty (20) days of the mailing of this notice. If no objection is timely received by the court,
the transferee will be substituted as the original claimant without further order of the court.

Date:

 

CLERK OF THE COURT
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e (800) 603-0836

< Para Espafiol, Ext. 2660 o 2643
BY SERVICING CORPORATION 8:00 a.m. — 5:00 p.m. Pacific Time
323 5TH STREET Main Office NMLS #5985
EUREKA CA 95501 Branch Office NMLS #9785

July 30, 2015

JEFFREY REID
ROSEMARIE REID

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wee ae 1344

RE: New Loan Number:
Old Loan Number:
Collateral: 4815 NOBLE STREEI; GARY IN

NOTICE OF ASSIGNMENT, SALE, OR TRANSFER OF SERVICING RIGHTS

Dear Customer:

The notice, which fotlows, is intended to inform you that the servicing of your mortgage loan has been
assigned, sold or transferred. If the above-referenced loan is a closed-end, first lien, 1-4 unit residential (e.9.,
homes, condominiums, cooperative units and mobile homes) mortgage loan, this notice is being provided to
you under Section 6 of the Real Estate Settlement Procedures Act (RESPA) (12 U.S.C. §2605). When a
state law requires this notice, this notice is being provided to you under state law. When neither Section 6 of
RESPA nor state law requires this notice, this notice is being provided to you for your information.

You are hereby notified that the servicing of your mortgage loan, that is, the right to collect payments from
you, has been assigned, sold or transferred from First Merchants Bank to SN Servicing Cerporation for SRP
2015-2 LLC, effective July 17, 2015.

The assignment, sale, or transfer of the servicing of the mortgage loan does not affect any term or condition of
the mortgage instruments, other than terms directly related to the servicing of your loan.

Except in limited circumstances, the law requires that your present servicer send you this notice at least 15
days before the effective date of transfer, or at closing. Your new servicer must also send you this notice no
jater than 15 days after this effective date or at closing.

Your present servicer is First Merchants Bank. If you have any questions relating to the transfer of servicing
from your present servicer call Customer Service at (877) 556-8721 Monday through Friday between 8:00
A.M, and 5 P.M. Eastern Time. This is a toll-free number.

Your new servicer will be SN Servicing Corporation.

The correspondence address for your new servicer is SN Servicing Corporation, 323 Fifth St, Eureka, CA
95501.

The toll-free telephone number of your new servicer is (800) 603-0836. If you have any questions relating to
the transfer of servicing to your new servicer call Angela Viale at (800) 603-0836 Monday through Friday
between 8:00 a.m. and 5:00 p.m. Pacific Time. You may access your account and make payments via our
secure website at https://borrower.snsc.com.

The date that your present servicer will stop accepting payments from you is July 16, 2015. The date that
your new servicer will start accepting payments from you is July 17, 2015. Send all payments on or after July
17, 2015 to your new servicer.

Make your payments payable to: SN Servicing Corporation

Mail your payments to: SN Servicing Corporation

The transfer of servicing rights may affect the terms of or the continued availability of mortgage life or disability
insurance or any other type of optional insurance in the following manner: SN Servicing Corporation will not
continue to accept your insurance payments as a part of your monthly loan payment nor will it be responsible
for the continuation of any such optional insurance coverage. You should take the following action to maintain
coverage: contact your optional insurance carrier immediately for instructions on how to continue such
optional insurance coverage.
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You should also be aware of the following information, which is set out in more detail in Section 6 of the Real
Estate Settlement Procedures Act (RESPA} {12 U.S.C. §2605):

During the 60-day period following the effective date of the transfer of the loan servicing, a loan payment
received by your old servicer before its due date may not be treated by the new loan servicer as late, and a

late fee may not be imposed on you.

Section 6 of RESPA (12 U.S.C. §2605) gives you certain cansumer rights. If you send a “qualified written
request” to your loan servicer concerning the servicing of your loan, your servicer must provide you with a
written acknowledgment within 5 Business Days of receipt of your request. A “qualified written request” is a
written correspondence, other than notice on a payment coupon or other payment medium supplied by the
servicer, which includes your name and account number, and your reasons for the request. If you want to
send a “qualified written request” regarding the servicing of your loan, it must be sent to this address: SN
Servicing Corporation, 323 Fifth St, Eureka, CA 95501.

Not later than 30 Business Days after receiving your request, your servicer must make any appropriate
corrections to your account, and must provide you with a written clarification regarding any dispute. During
this 30-Business Day period, your servicer may not provide information to a consumer reporting agency
concerning any overdue payment related to such period or qualified written request. However, this does nat
prevent the servicer from initiating foreclosure if proper grounds exist under the mortgage documents.

A Business Day is a day on which the offices of the business entity are open to the public for carrying on
substantially all of its business functions.

Section 6 of RESPA also provides for damages and costs for individuals or classes of individuals in
circumstances where servicers are shown to have violated the requirements of that Section. You should seek
legal advice if you believe your rights have been violated.

You are hereby notified that this letter is being sent to you by SN Servicing Corporation, which is a debt
collector. SN Servicing Corporation is attempting to collect a debt. Any information obtained by us will be
used for that purpose. However, if you are in a bankruptcy proceeding or your debt has been discharged in
bankruptcy, please read the next paragraph carefully for some important information.

NOTICE TO ANY CUSTOMER IN BANKRUPTCY OR WHO HAS RECEIVED A DISCHARGE IN
BANKRUPTCY: Notwithstanding anything in this notice to the contrary, if you have filed a bankruptcy petition
and there is either an “automatic stay” in effect in your bankruptcy case, or you have received a discharge of
your personal liability for the cbligation identified in this letter, we may not and do not intend to pursue
coltection of that obligation from you personally. If these circumstances apply, this notice is not intended as a
demand for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, however,
please also note that despite any such bankruptcy filing, we do continue to retain whatever rights we hold in
the property that secures the obligation.

SN Servicing Corporation for SRP 2015-2 LLC
Customer Service Department
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f (800) 603-0836
3 Para Espafiol, Ext. 2660 0 2643
BI SERVICING CORPORATION 8:00 a.m. — 5:00 p.m. Pacific Time
323 5TH STREET Main Office NMLS #5985
EUREKA CA 95501 Branch Office NMLS #9785
July 30, 2015
JEFFREY REID
ROSEMARIE REID

‘
‘LORUN IN 46341

RE: New Loan Number:
Old Loan Number:
Collateral: 4815 NOBLE STREET; GARY IN

Dear Customer:

This notice is being sent to you in accordance with the Federal Fair Debt Collection Practices Act, 15 U.S.C.
§§1692 ef seq.

As of the date of this letter, you owe $45,731.44. Because of interest, late charges and other charges that

may vary from day to day, the amount due on the day you pay may be greater. Hence, if you pay the amount
shown above, an adjustment may be necessary after we receive your check, in which event we will inform you
before depositing the check for collection. For further information, write the undersigned or call (800) 603-
0836.

SRP 2015-2 LLC is the creditor to whom the debt is owed. However, SN Servicing Corporation, a debt
collector, is responsible for servicing and collecting the debt .

Unless you dispute the validity of the debt or any portion of the debt within thirty (30) days after your receipt of
this letter, we will assume that the debt is valid.

If you notify us in writing within thirty (30) days after your receipt of this letter that you dispute the debt or any
portion of the debt, we will obtain verification of the debt or a copy of any judgment against you and we will
mail you @ copy of such verification or judgment.

We will provide you with the name and address of the original creditor on the debt, if different from the current
creditor, if you request this information within thirty (30) days after your receipt of this letter.

You are hereby notified that this letter is being sent to you by SN Servicing Corporation, which is a debt
collector. SN Servicing Corporation is attempting to collect a debt. Any information obtained by us will be
used for that purpose. However, if you are in a bankruptcy proceeding or your debt has been discharged in
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BANKRUPTCY: Notwithstanding anything in this notice to the contrary, if you have filed a bankruptcy petition
and there is either an “automatic stay” in effect in your bankruptcy case, or you have received a discharge of
your personal liability for the obligation identified in this letter, we may not and do not intend to pursue
collection of that obligation from you personally. ff these circumstances apply, this notice is not intended as a
demand for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, however,
please also note that despite any such bankruptcy filing, we do continue to retain whatever rights we hold in
the property that secures the obligation.

SN Servicing Corporation for SRP 2015-2 LLC
Customer Service Department
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cm (800) 603-0836
j NICs Para Espaiiol, Ext. 2660 0 2643
BY SERVICING CORPORATION 8:00 a.m. — 5:00 p.m. Pacific Time
323 STH STREET Main Office NMLS #5985
EUREKA CA 95501 Branch Office NMLS #8785
duly 30, 2015

JEFFREY REID

ROSEMARIE REID

neon un 40941

RE: New Loan Number:
Old Loan Number:
Collateral: 4815 NOBLE STREET; GARY IN

As stated in previous correspondence, the servicing of your mortgage loan has been transferred from First
Merchants Bank to SN Servicing Corporation for SRP 2015-2 LLC effective July 17, 2015

lf your loan is secured by real estate, please contact your insurance carrier to have the mortgagee clause
changed to the following:

SN Servicing Corp
iSAOA ATIMA

P.O. Box 35
Eureka, CA 95502

Please have your insurance carrier forward a copy of your insurance policy with the mortgagee clause change
to our Escrow Department at the address shown above. If your property is located in a flood hazard zone,
which starts with an “A” or “V”, we will also require a copy of your flood insurance policy.

if you or your insurance carriers have any questions, please contact Angela Viale at (800) 603-0836 Monday
through Friday between 8:00 a.m. and 5:00 p.m., Pacific Time.

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callector. SN Servicing Corporation is attempting to collect a debt. Any information obtained by us will be
used for that purpose. However, if you are in a bankruptcy proceeding or your debt has been discharged in
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BANKRUPTCY: Notwithstanding anything in this notice to the contrary, if you have filed a bankruptcy petition
and there is either an “automatic stay” in effect in your bankruptcy case, or you have received a discharge of
your personal liability for the obligation identified in this letter, we may not and do not intend to pursue
collection of thal obligation from you personally. If these circumstances apply, this notice is not intended as a
demand for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, however,
please also note that despite any such bankruptcy filing, we do continue to retain whatever rights we hold in
the property that secures the obligation.

SN Servicing Corporation for SRP 2015-2 LLC
Escrow Department
